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                                            IN THE UNITED STATES DISTRICT COURT
                                               FOR THE DISTRICT OF DELAWARE

                  INVIDI TECHNOLOGIES
                  CORPORATION,
                                        Plaintiff,
                                                                    C.A. No. 11-397 (RGA) (CJB)
                                       v.
                  VISIBLE WORLD, INC. and CSC
                  HOLDINGS, LLC,

                                        Defendants.


                                              STIPULATED ORDER OF DISMISSAL

                         Plaintifflnvidi Technologies Corporation ("lnvidi") and Defendant Visible World Inc.

                  ("Visible World") request that Invidi's claims against Visible World be dismissed with prejudice

                  and Visible World's counterclaims against Invidi be dismissed without prejudice, with each

                  party to bear its own fees, costs, and expenses. Invidi and Visible World waive all right to

                  appeal from this Stipulated Order. The Court shall retain jurisdiction to enforce this Stipulated

                  Order and over any action relating to the Settlement Agreement entered into by lnvidi and

                  Visible World in connection with the above-captioned action.

                         It is hereby ORDERED that all remaining claims are dismissed as follows:

                         I.      Count I oflnvidi's First Amended Complaint filed September 14,2012 (D.I. 104)

                                 is dismissed with prejudice; and

                         2.      Counts I through VI of Visible World's Answer and Counterclaims filed

                                 September 27, 2012 (D.I. 110) are dismissed without prejudice.




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          FISH & RICHARDSON P.C.                  MORRIS, NICHOLS, ARSHT &
                                                   TUNNELL LLP


          Is/ Thomas L. Ratkowski                 Regina S.E. Murphy
          Thomas L. Halkowski (#4099)             Jack B. Blumenfeld (#1014)
          Warren K. Mabey, Jr. (#5775)            Regina S.E. Murphy (#5648)
          222 Delaware A venue, 1ih Floor         1201 North Market Street
          P. 0. Box 1114                          P.O. Box 1347
          Wilmington, DE 19899-1114               Wilmington, DE 19899-1347
          (302) 652-5070                          (302) 658-9200
          halkowski@fr.com                        jblumenfeld@mnat.com
          mabey@fr.com                            rmurphy@,mnat.com

          Attorneys for Invidi Technologies       Attorneysfor Visible World, Inc.
          Corporation




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